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                   12                                   UNITED STATES DISTRICT COURT

                   13                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                   14

                   15 THE WOMEN’S STUDENT UNION,                           Case No. 3:21-cv-01626-EMC

                   16                      Plaintiff,                      MEMORANDUM OF POINTS AND
                                                                           AUTHORITIES IN SUPPORT OF
                   17             vs.                                      INTERVENOR-DEFENDANT STATE OF
                                                                           TEXAS’S MOTION TO INTERVENE AS
                   18 U.S. DEPARTMENT OF EDUCATION,                        DEFENDANT

                   19                      Defendant.                      Judge: Hon. Edward M. Chen

                   20            and
                                                                           Date:     May 20, 2021
                   21 STATE OF TEXAS,                                      Time:     1:30 p.m.
                                                                           Crtrm:    5, 17th Floor
                   22                      [Proposed] Intervenor-
                                           Defendant.
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BRISBOIS                4828-9071-6900.1                                            Case No. 3:21-cv-01626-EMC
BISGAARD
& SMITH LLP             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF INTERVENOR-DEFENDANT STATE OF
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                      Taylor Mooney, How Betsy DeVos plans to change the rules for handling sexual
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                   14 Tex. Educ. Agency, 2020 Comprehensive Biennial Report on Texas Public Schools at 297
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                   18   28, 47, https://reportcenter.highered.texas.gov/agency-publication/almanac/2020-texas-
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                    1                                               INTRODUCTION

                    2          The State of Texas (“Texas”) respectfully moves to intervene in defense of the Department

                    3 of Education’s (“the Department”) Final Rule addressing Title IX obligations, which took effect on

                    4 August 14, 2020.1 Texas submits this motion because, as common provider of education, Texas has

                    5 a compelling interest in the Department issuing clear, practical regulatory guidance, which enables

                    6 the State to combat sexual harassment without sacrificing its commitment to either free speech or

                    7 due process, nor its receipt of federal funds. The Biden Administration, however, has expressed

                    8 open hostility to the provisions in the Final Rule that do just that and has taken early steps towards

                    9 the Final Rule’s repeal. In light of these actions, Texas cannot trust that the Department will provide

                   10 a robust defense of the Final Rule or adequately represent its significant protectable interests.

                   11                                          STATEMENT OF ISSUES

                   12          (1) Whether the State of Texas has a right to intervene under Rule 24(a) of the Federal

                   13 Rules of Civil Procedure; and,

                   14          (2) Whether, in the alternative, the State of Texas should be permitted to intervene under

                   15 the Federal Rules of Civil Procedure 24(b).

                   16                                         FACTUAL BACKGROUND

                   17          During the Obama Administration, the Department issued its deeply misguided and

                   18 controversial 2011 Dear Colleague Letter2 and 2014 Questions and Answers on Title IX Sexual

                   19 Violence (“2014 Question and Answers”).3 Although neither underwent notice and comment

                   20 rulemaking, the two guidance documents put recipients in a no-win situation where either

                   21 conforming or failing to conform to the guidance documents would expose them to significant risk

                   22 of litigation.4 Then-Vice-President Joe Biden played a key role in the development and

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                        1
                   24     Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal
                        Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020).
                        2
                   25     Russlynn Ali, OCR, U.S. Dept. of Educ., Dear Colleague Letter: Sexual Violence (Apr. 4, 2011),
                        http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.
                        3
                   26     U.S. Dept. of Educ., Questions and Answers on Title IX and Sexual Violence (Apr. 24, 2014),
                        https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf.
                        4
                   27      See, e.g., Taylor Mooney, How Betsy DeVos plans to change the rules for handling sexual
                        misconduct on campus, CBS NEWS (Nov. 24, 2019) (“Prior to 2011, the number of lawsuits filed
                   28   against universities for failing to provide due process in Title IX cases averaged one per year. It is
LEWIS                   (footnote continued)
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                    1 implementation of the Obama Administration’s policies on sexual harassment,5 including the

                    2 changes the administration advanced regarding Title IX. The former vice president, in fact, stood as

                    3 the Obama Administration’s spokesperson for the Dear Colleague Letter, announcing its publication

                    4 to students at the University of New Hampshire in Durham. See Press Release, U.S. Dept. of Educ.,

                    5 Vice President Biden Announces New Administration Effort to Help Nation’s Schools Address

                    6 Sexual Violence (Apr. 4, 2011), https://www.ed.gov/news/press-releases/vice-president-biden-

                    7 announces-new-administration-effort-help-nations-schools-ad.

                    8          The Dear Colleague Letter and 2014 Questions and Answers had a detrimental impact on

                    9 publicly funded education across the country, including in Texas. Not only did the two guidance

                   10 documents introduce significant confusion as to academic institutions’ obligations under Title IX,

                   11 but they also incentivized academic institutions to violate students’ constitutional rights in order to

                   12 avoid incurring liability. Thus, in response to growing criticism, the Department, under the Trump

                   13 Administration, rescinded both the Dear Colleague Letter and the 2014 Questions and Answers in

                   14 2017.6 It soon became apparent, however, that the withdrawal could not repair the damage caused

                   15 by the two guidance documents on its own. The Department therefore issued on May 19, 2020 the

                   16 Final Rule that is the subject of this action. The Final Rule, for the first time, clearly demarcated the

                   17 outer boundaries of federal fund recipients’ obligations under Title IX with respect to sexual

                   18 harassment. It thereby reduced their risk of liability and resolved the dilemma of how to enforce

                   19 Title IX without sacrificing the rights of either the victims of sexual harassment or the accused.

                   20          From the moment it was announced, the former vice president opposed the Department’s

                   21 new guidance. He repeatedly (and erroneously) characterized the Final Rule as “a green light to

                   22 ignore sexual violence.” The Biden Agenda for Women, JOEBIDEN.COM, https://joebiden.com/

                   23

                   24
                      expected there will be over 100 such lawsuits filed in 2019 alone.”), https://www.cbsnews.
                   25 com/news/title-ix-sexual-misconduct-on-campus-trump-administration-changing-obama-rules-
                      cbsn-documentary/.
                   26 5 Unless otherwise stated, the term “sexual harassment” encompasses all forms of sexual
                      harassment, including sexual violence and sexual assault. Likewise, unless otherwise stated, the
                   27 term, “academic institutions” encompasses all entities covered by the new Final Rule issued by the
                      Department, including schools, colleges, and universities, both primary and secondary.
                   28 6 See Candice Jackson, OCR, U.S. Dept. of Educ., Dear Colleague Letter (Sept. 9, 2017), https://
LEWIS                 www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.
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                    1 womens-agenda/ (last visited Mar. 24, 2021), And he assured his supporters on the campaign trail

                    2 that he intended to advance the same objectives for Title IX as he did during the Obama

                    3 Administration should he be elected to the presidency. According to his website, a Biden

                    4 Administration would restore the 2011 Dear Colleague Letter and curtail, if not repeal outright,

                    5 reforms contained in the Final Rule. See The Biden Plan To End Violence Against Women,

                    6 JOEBIDEN.COM, https://joebiden.com/vawa/ (last visited Mar. 24, 2021). Indeed, a common refrain

                    7 of his campaign was that the Department under a Biden Administration would put a “quick end” to

                    8 the Final Rule. E.g. Joe Biden, Statement on the Trump Administration Rule to Undermine Title IX

                    9 and Campus Safety (May 6, 2020), https://medium.com/@JoeBiden/statement-by-vice-president-

                   10 joe-biden-on-the-trump-administration-rule-to-undermine-title-ix-and-e5dbc545daa.

                   11            The former vice president was successful in his run for the White House. He entered office

                   12 on January 20, 2021, where he and his administration took immediate steps to cabin its defense of

                   13 the Final Rule. In particular, his administration instructed the Department to seek an abeyance in

                   14 Commonwealth of Pennsylvania v. Devos, a parallel case, which challenges the Final Rule under

                   15 the Administrative Procedure Act. See Mot. to Stay Briefing Schedule, 1:20-cv-01468-CJN (D.D.C.

                   16 Feb. 3, 2021). The motion was filed with the support of the plaintiffs in that action and stated that

                   17 the Department’s new leadership intended “to review the underlying rule at issue in this case.” Id.

                   18 The implication, of course, is that the federal government is likely to change its position regarding

                   19 the Final Rule. As further evidence of this about-face, President Biden issued an Executive Order

                   20 specifically charging the new Secretary of Education to review the Final Rule for “consistency”

                   21 with Biden Administration’s stated Title IX policy. The Secretary has instruction “to consider

                   22 suspending, revising or rescinding” any portion of the Final Rule it deems inconsistent.

                   23            The Biden Administration, in sum, is openly hostile to the Final Rule and therefore Texas’

                   24 significant protectable interests. Yet, at the same time, it controls the Department’s approach to Title

                   25 IX, up to and including the Department’s defense of the Final Rule and the resolution of lawsuits

                   26 challenging the Final Rule’s validity. Recognizing this fact, Texas moved to intervene in
                   27 Commonwealth of Pennsylvania on January 19, 2021, which the D.C. District Court granted. Texas

                   28 has now learned that the Women’s Student Union (“Plaintiff”) initiated a separate legal action on
LEWIS
BRISBOIS                4828-9071-6900.1                       3                   Case No. 3:21-cv-01626-EMC
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                    1 March 8, 2021, claiming that the Final Rule is both arbitrary and capricious. Texas files this motion

                    2 to intervene in response.

                    3                                             LEGAL STANDARD

                    4            The Federal Rules provide two mechanisms for third-party intervention in a lawsuit:

                    5 intervention of right under Rule 24(a) and permissive intervention under Rule 24(b). For

                    6 intervention of right to apply, the movant must demonstrate that: (1) the motion is timely; (2) the

                    7 movant has a legally protected interest in the action; (3) the action must threaten to impair that

                    8 interest; and (4) the movant’s interest is not adequately represented by the existing parties. See Prete

                    9 v. Bradbury, 438 F.3d 949, 954 (9th Cir. 2006). “In determining whether intervention is appropriate,

                   10 courts are guided primarily by practical and equitable considerations, and the requirements for

                   11 intervention are broadly interpreted in favor of intervention.” United States v. Alisal Water Corp.,

                   12 370 F.3d 915, 919 (9th Cir. 2004). “[T]he inquiry” into Rule 24(a) is therefore “flexible one, which

                   13 focuses on the particular facts and circumstances surrounding each application” Edwards v. City of

                   14 Houston, 78 F.3d 983, 999 (5th Cir. 1996). “[I]ntervention must be “measured by a practical rather

                   15 than technical yardstick.” Id.; see also California v. Health & Human Services, 330 F.R.D. 248, 252

                   16 (N.D. Cal. 2019) (stating that intervention should not turn on “technical distinctions”).

                   17            To qualify for permissive intervention, the movant must show: (1) an independent ground

                   18 for subject matter jurisdiction; (2) a timely motion; and (3) a claim or defense that has a question of

                   19 law or fact in common with the main action. League of United Latin Am. Citizens v. Wilson, 131

                   20 F.3d 1297, 1308 (9th Cir. 1997). As its name would suggest, permissive intervention is an inherently

                   21 discretionary enterprise provided the movant meets the abovementioned requirements. Kukui

                   22 Gardens Corp. v. Holco Capital Group, Inc., 261 F.R.D. 523, 534 (D. Haw. 2009). The Ninth

                   23 Circuit has generally endorsed “liberal construction in favor of applications for intervention.”

                   24 Bresgal v. Brock, 637 F. Supp. 271, 272 (D. Or. 1985), aff’d as modified, 833 F.2d 763 (9th Cir.

                   25 1987), opinion amended and superseded, 843 F.2d 1163 (9th Cir. 1987). A liberal approach to

                   26 intervention is especially appropriate “where the subject matter of the lawsuit is of great public
                   27 interest, the intervenor has a real stake in the outcome and the intervention may well assist the court

                   28 in its determination through . . . the framing of issues.” Daggett v. Comm’n on Gov’t Ethics, 172
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                    1 F.3d 104, 116–17 (1st Cir. 1999) (Lynch, J., concurring).

                    2            Texas meets the requirements for both intervention as of right and permissive intervention.

                    3 Pursuant to Rule 24(c), Texas’ proposed answer is submitted herewith as Exhibit A.

                    4                                                  ARGUMENT

                    5 I.         The Court Should Grant Intervention As Of Right.

                    6            A.        Texas’ Motion Is Timely.

                    7            Plaintiff commenced this action on March 8, 2021. Texas filed its motion to intervene on

                    8 April 7, 2021, less than a month after Plaintiff submitted its complaint with this Court. Based on

                    9 this timeline, there can be no doubt that the motion is timely. See Raytek, Inc. v. Omega Eng'g, Inc.,

                   10 C-93-20188 RMW PVT, 1993 WL 404088, at *2 (N.D. Cal. Sept. 22, 1993) (“Generally, the earlier

                   11 a party seeks intervention, the more likely it will be granted.”). When evaluating timeliness, courts

                   12 in this jurisdiction look to three factors: (1) the stage of the proceeding at which an applicant seeks

                   13 to intervene; (2) the prejudice to other parties; and (3) the reason for and length of the delay. Retiree

                   14 Support Group of Contra Costa Cnty. v. Contra Costa Cnty., 315 F.R.D. 318, 321 (N.D. Cal. 2016).

                   15 Here, Texas has sought intervention at the earliest stage of litigation. The Defendant has yet to

                   16 appear before this Court, and no substantive briefings and proceedings have occurred. See United

                   17 States v. Blue Lake Power, LLC, 215 F. Supp. 3d 838, 842 (N.D. Cal. 2016). Texas, in short, did

                   18 not delay filing its motion but instead acted promptly once it became aware that its significant

                   19 protectable interests in the Final Rule were at risk.

                   20            Texas’ promptness also means that there is no reasonable risk that its intervention would

                   21 prejudice the existing parties or subject them to undue delay—the “most important consideration”

                   22 in a court’s timeliness analysis, according to the Ninth Circuit. Smith v. Los Angeles Unified Sch.

                   23 Dist., 830 F.3d 843, 857 (9th Cir. 2016). As this Court has previously held, “[i]n the context of a

                   24 timeliness analysis, prejudice is evaluated based on the difference between timely and untimely

                   25 intervention—not based on the work Defendants would need to do regardless of when [Texas]

                   26 sought to intervene.” Kamakahi v. Am. Soc'y for Reprod. Med., 11-CV-01781-JCS, 2015 WL
                   27 1926312, at *4 (N.D. Cal. Apr. 27, 2015). Texas filed its motion at the earliest point possible, well

                   28 before the parties litigated any of the issues raised by the Complaint or entered into agreements that
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                    1 could be affected by Texas’ entry into the case. If any difficulty arises from Texas’ intervention, it

                    2 stems from including an additional party, not from the date Texas submitted its motion.7

                    3          For this reason, courts have routinely designated as timely motions that are filed by

                    4 prospective intervenors within the first few months of the litigation’s commencement. E.g. Arakaki

                    5 v. Cayetano, 324 F.3d 1078, 1084 (9th Cir. 2003), as amended (May 13, 2003); Hecox v. Little, 479

                    6 F. Supp. 3d 930, 956 (D. Idaho 2020); Jack Marine Int'l Services Ltd. v. Tilman Enterprises Inc.,

                    7 18-CV-00693-BLF, 2018 WL 1258211, at *1 (N.D. Cal. Mar. 12, 2018); Eashoo v. Iovate Health

                    8 Scis. U.S.A., Inc., CV 15-01726-BRO (JWX), 2015 WL 12696036, at *4 (C.D. Cal. May 26, 2015).

                    9 This Court should do the same here.

                   10          B.      As A Provider Of Public Education, Texas Has Significant Protectable

                   11                  Interests Directly Affected By This Litigation.

                   12          Texas administers a system of primary and secondary public education that is funded by

                   13 both state and federal money. Tex. Educ. Agency, 2020 Comprehensive Biennial Report on Texas

                   14 Public Schools at 297 (Dec. 4, 2020) (reporting that Texas received $5.3 billion dollars for K-12

                   15 education), https://tea.texas.gov/sites/default/files/comp_annual_biennial_2020.pdf. The Texas

                   16 Constitution charges the Texas Legislature “to establish and make suitable provision for the support

                   17 and maintenance of an efficient system of public free schools.” Tex. Const. art. VII, § 1. Pursuant

                   18 to this charge, Texas funds, regulates, and oversees the second largest system of K–12 public

                   19 education in the nation, serving over 5.4 million students across 1,200 school districts. Tex. Educ.

                   20 Agency,       Enrollment   in   Texas   Public    Schools   2019-20     at   1   (Aug.   12,   2020),

                   21 https://tea.texas.gov/sites/default/files/enroll_2019-20.pdf.

                   22          Texas also funds, supports, and administers a robust network of higher education. Texas is

                   23 home to 119 public postsecondary institutions, including 37 universities and 82 two-year colleges

                   24 and technical schools. See Tex. Higher Educ. Coordinating Bd., 2020 Texas Public Higher

                   25 Education Almanac at 28, 47 (Sept. 28, 2020), https://reportcenter.highered.texas.gov/agency-

                   26
                   27
                        Texas’ intervention, if anything, will avert a potential disruption to this case should the federal
                        7

                   28 government withdraw its support of the Final Rule and refuse to defend it, which the Biden
LEWIS                 Administration’s recent actions suggest is likely. See infra Part I.D.
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                    1 publication/almanac/2020-texas-public-higher-education-almanac/. While most states have just one

                    2 or two public university systems, Texas has six. The largest of these systems—the University of

                    3 Texas—has 14 separate locations that educate approximately 240,000 students each year. See About

                    4 The University of Texas System, THE UNIVERSITY OF TEXAS SYSTEM, https://www.utsystem

                    5 .edu/about (last visited Jan. 15, 2021). All told, the State’s entire network of higher education

                    6 enrolled just shy of 1.7 million students in 2019. See Tex. Higher. Educ. Coordinating Bd., at 13.

                    7          Because Texas receives federal funding from the Department for primary and secondary

                    8 education, Texas and its public primary and secondary education systems are subject to Title IX and

                    9 the regulations effectuating Title IX, such as the Final Rule. Likewise, each of the institutions in

                   10 Texas’ systems of higher education receives federal funding and, as a result, is subject to the Final

                   11 Rule as well. This means that Texas and its academic institutions have an obligation to investigate

                   12 and enforce alleged violations of Title IX. See Daniel v. Univ. of Tex. Sw. Med. Ctr., 960 F.3d 253,

                   13 257 (5th Cir. 2020) (recognizing public institutions of higher education as “arms” and

                   14 “instrumentalities” of the State). Texas is intensely interested in the Final Rule as a result. Indeed,

                   15 its interests are the “mirror-image” of Plaintiff’s interests. While Plaintiff alleges that it “[is] being

                   16 injured by the [Final Rule],” Texas “w[ould] be injured by [the Final Rule’s] invalidation.” Builders

                   17 Ass’n of Greater Chi. v. City of Chicago, 170 F.R.D. 435, 440 (N.D. Ill. 1996).

                   18          First, the Final Rule clarified the definition of sexual harassment as well as the conditions

                   19 that must be met before a recipient’s obligations under Title IX are activated. Invalidating the Final

                   20 Rule would create uncertainty, harming the Texas institutions regulated under Title IX. See infra

                   21 Part I.C. Earlier guidance had caused a great deal of confusion regarding recipients’ legal

                   22 responsibilities under Title IX.8 Recipients did not know how to comply with the new mandates or

                   23 whether failure to do so would incur legal consequences. See Janet Napolitano, “Only Yes Means

                   24 Yes”: An Essay on University Policies Regarding Sexual Violence and Sexual Assault, 33 YALE L.

                   25

                   26
                        8
                        The Task Force on Federal Regulation of Higher Education specifically identified the Dear
                   27 Colleague Letter and 2014 Question and Answers as guidance documents that were meant to
                      eliminate uncertainty but only led to more confusion. See Recalibrating Regulation of Colleges and
                   28 Universities at 14 (Feb. 12, 2015), available at https://www.acenet.edu/Documents/Higher-
LEWIS                 Education-Regulations-Task-Force-Report.pdf.
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                    1 & POL’Y REV. 387, 394–395 (2015).

                    2            In an abundance of caution, many academic institutions, including those funded by Texas,

                    3 elected to revise their policies to cover a greater range of conduct and make it easier for

                    4 administrators to arrive at a determination of guilt. See Doe v. Univ. of Scis., 961 F.3d 203, 213 (3d

                    5 Cir. 2020) (describing the pressure universities faced as a result of the Dear Colleague Letter). But

                    6 that led to litigation. Hundreds of lawsuits have been filed since the Dear Colleague Letter was

                    7 issued—a sizeable number of which academic institutions lost or settled. See Second, the Final Rule

                    8 reduced Texas’ risk of liability. While previous guidance had supported an improperly broad view

                    9 of Title IX liability, the Final Rule fixed those issues. By confining Title IX liability to proper limits

                   10 set by statute, the Final Rule benefits Texas. If it were invalidated, Texas institutions would be

                   11 subject to litigation expenses, which, in turn, would lead to higher compliance costs and diversion

                   12 of resources.

                   13            In short, earlier guidance put Texas academic institutions between a rock and a hard place.

                   14 Not following the guidance would risk federal enforcement actions, but following the guidance

                   15 would lead to lawsuits, litigation expenses, and ultimately monetary settlements. Id.; see also Greta

                   16 Anderson, More Title IX Lawsuits by Accusers and Accused, INSIDER HIGHER ED (Oct. 3, 2019),

                   17 https://www.insidehighered.com/news/2019/10/03/students-look-federal-courts-challenge-title-ix-

                   18 proceedings (describing the “high cost of addressing sexual misconduct. . . a lose-lose situation for

                   19 universities”). The Final Rule, by contrast, resolves the dilemma. It provides clear guidance limiting

                   20 Texas’ liability and reducing expected litigation expenses.

                   21            These interests support intervention. See Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d

                   22 810, 818 (9th Cir. 2001) (“It is generally enough that the interest asserted is protectable under some

                   23 law, and that there is a relationship between the legally protected interest and the claims at issue.”).

                   24 In California v. Health & Human Services, the State of Oregon sought to intervene in a lawsuit

                   25 challenging federal regulations related to the contraception mandate. 330 F.R.D. at 253. This Court

                   26 concluded that the regulations’ impact on Oregon’s finances, public health, and sovereignty
                   27

                   28
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                    1 constituted significant protectable interests as defined by Rule 24(a).9 Id. Setting aside the Final

                    2 Rule would have similar implications for Texas. Thus, if Oregon satisfied Rule 24(a)’s second

                    3 prong, then so too does Texas. See S.E.C. v. Navin, 166 F.R.D. 435, 440 (N.D. Cal. 1995) (describing

                    4 the purpose of the interest test as “involving as many apparently concerned persons as is compatible

                    5 with efficiency and due process”).

                    6          C.      Disposition Of This Action Would Impair Or Impede Texas’ Ability To

                    7                  Protect Its Interests.

                    8          Texas “would be substantially affected in a practical sense by the determination made” in

                    9 this action; it therefore “should, as a general rule, be entitled to intervene” Sw. Ctr. for Biological

                   10 Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001). As explained above, the Final Rule provides

                   11 important benefits to Texas, its schools, and its citizens. It both limits the scope of potential Title IX

                   12 liability and also provides clarity that helps schools follow the law. But Plaintiff asks this Court to

                   13 deprive Texas of those benefits by “setting aside” the Final Rule. See ECF 1 at 23. Those “practical

                   14 consequences” are more than sufficient to show impairment of Texas’ interests. Nat. Res. Def.

                   15 Council v. Norton, 1:05CV01207 OWW TAG, 2006 WL 39094, at *10 (E.D. Cal. Jan. 5, 2006); see

                   16 also California ex rel. Lockyer v. United States, 450 F.3d 436, 442 (9th Cir. 2006) (“Having found

                   17 that appellants have a significant protectable interest, we have little difficulty concluding that the

                   18 disposition of this case may, as a practical matter, affect it.”). When a movant benefits from a

                   19 regulation, invalidation of that regulation would necessarily impair the movant’s interests. See, e.g.,

                   20 Citizens for Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011); Sw. Ctr.

                   21 for Biological Diversity 268 F.3d at 822; see also Syngenta Seeds, Inc. v. County of Kauai, CIV. 14-

                   22 00014BMK, 2014 WL 1631830, at *5 (D. Haw. Apr. 23, 2014) (stating that if intervenors have a

                   23

                   24
                        9
                        Although this Court determined that Oregon had sufficient interest in the challenged regulations,
                   25 it found that Oregon, who wished to join as a Plaintiff, would not be impeded from protecting its
                      interest by the disposition of the lawsuit since the state could file a separate action, seeking
                   26 injunctive relief. Health & Human Services, 330 F.R.D. at 253. Texas, who seeks join the above-
                      caption action as defendant, does not have that option. Should Plaintiff’s claims succeed, Texas
                   27 cannot revitalize the Final Rule or recover the benefits it enjoyed under the Final Rule by filing its
                      own petition with the courts. In any event, this Court granted Oregon’s motion under Rule 24(b),
                   28 finding permissive intervention appropriate even when state could not establish intervention as of
LEWIS                 right. Id. at 254–55.
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                    1 protectable interest in the protections offered by a regulation, “it naturally follows that the

                    2 invalidation of the [regulation] would impair those interests”).

                    3            Relegation to the status of amicus curiae would not enable Texas to protect their interests in

                    4 this case and “is not an adequate substitute for participation as a party.” Nuesse v. Camp, 385 F.2d

                    5 694, 702 (D.C. Cir. 1967); see also Forest Conservation Council v. U.S. Forest Serv., 66 F.3d 1489,

                    6 1498 (9th Cir. 1995), abrogated on other grounds by Wilderness Soc. v. U.S. Forest Serv., 630 F.3d

                    7 1173 (9th Cir. 2011). In such a scenario, no party would provide a comprehensive defense of the

                    8 Final Rule to this Court. Texas would not be able to file motions or appeal if necessary. See Int'l

                    9 Union, United Auto., Aerospace & Agr. Implement Workers of Am. AFL-CIO, Local 283 v. Scofield,

                   10 382 U.S. 205, 215–216 (1965) (discussing the difference between party and amicus status). Texas

                   11 also would lack the ability to introduce an issue or defense not raised by the parties. Swan v.

                   12 Peterson, 6 F.3d 1373, 1383 & n. 10 (9th Cir.1993). For the reasons stated below, Texas and the

                   13 federal government do not share the same interests. See infra Part I.D. There is in fact evidence that

                   14 the Department does not intend to defend the Final Rule whatsoever. Texas will likely be the sole

                   15 party then defending the Final Rule in its entirety, making it essential that its arguments be part of

                   16 the Court’s deliberations. “Participation by [Texas] as amicus curiae is not sufficient to protect

                   17 against these practical impairments.” Feller v. Brock, 802 F.2d 722, 730 (4th Cir. 1986). Texas

                   18 should be granted intervenor status.

                   19            D.        None Of The Parties Adequately Represent Texas’ Interests.

                   20             The federal government will neither adequately represent Texas’s interests nor provide an

                   21 adequate defense of the Final Rule. Rule 24(a)’s inadequate representation requirement is not

                   22 onerous. See Bates v. Jones, 904 F. Supp. 1080, 1087 (N.D. Cal. 1995). On its own, “the change in

                   23 the Administration raises ‘the possibility of divergence of interest’ or a ‘shift’ during litigation,”

                   24 sufficient to satisfy Rule 24(a). W. Energy All. v. Zinke, 877 F.3d 1157, 1169 (10th Cir. 2017). As

                   25 the Biden Administration’s recent actions illustrate, a change in Administration often precedes

                   26 substantial shifts in federal positions, and these shifts mean the Department’s interests are unlikely
                   27 to overlap with intervenor Texas’ interest. See Arakaki v. Cayetano, 324 F.3d 1078, 1086 (9th Cir.

                   28 2003), as amended (May 13, 2003) (citing Trbovich v. United Mine Workers of Am., 404 U.S. 528,
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                    1 538 n.10 (1972)) (stating that the movant’s “minimal” burden is “satisfied if [movants] could

                    2 demonstrate that representation of their interests ‘may be’ inadequate”) (emphasis added).

                    3            The Biden Administration has expressed open hostility to the Final Rule. During the

                    4 campaign, President Biden repeatedly (and erroneously) characterized the Final Rule as “a green

                    5 light to ignore sexual violence.” The Biden Agenda for Women, JOEBIDEN.COM, https://joebiden

                    6 .com/womens-agenda/ (last visited Mar. 24, 2021). He promised to put a “quick end” to the Final

                    7 Rule and stated that he would “restore [earlier] Title IX guidance for colleges, including the 2011

                    8 Dear Colleague Letter.” Id; The Biden Plan To End Violence Against Women, JOEBIDEN.COM,

                    9 https://joebiden.com/vawa/ (last visited Mar. 24, 2021). Nor has the President limited his opposition

                   10 to the Final Rule to mere words. Almost immediately after taking office, the Department, acting in

                   11 close coordination with the plaintiff-states, sought an abeyance in another case challenging the Final

                   12 Rule “so that Department leadership to review the underlying rule at issue in this case.” See Mot. to

                   13 Stay Briefing Schedule, Commonwealth of Pennsylvania v. Devos, 1:20-cv-01468-CJN (D.D.C.

                   14 Feb. 3, 2021). The White House also issued an Executive Order specifically charging the new

                   15 Secretary of Education to review the Final Rule for “consistency” with Biden Administration’s

                   16 stated Title IX policy. The Executive Order further instructs the Secretary “to consider suspending,

                   17 revising or rescinding” any portion of the Final Rule it deems inconsistent.

                   18            Not only are these statements and actions evidence of an unavoidable, fundamental divide

                   19 between Texas and the federal government, but the Biden Administration’s unabashed opposition

                   20 raises a strong possibility that the federal government will either fail to defend the Final Rule or

                   21 omit from its defense key arguments. See WildEarth Guardians v. U.S. Forest Serv., 573 F.3d 992,

                   22 997 (10th Cir. 2009) (recognizing that government policy is not static and may shift). Even had the

                   23 federal government not committed an about-face, it would have been hard-pressed to accurately

                   24 capture Texas’ interest as a common provider of education, subject to Title IX and the Final Rule’s

                   25 revisions. Cf. Trbovich, 404 U.S. at 539 (concluding that government cannot adequately represent

                   26 private parities because it is entrusted with protecting vital public interests). However, at least under
                   27 the Trump Administration, the Department had a stake in providing a robust defense of the Final

                   28 Rule. Here, the Biden Administration has voiced its opposition to it. Texas is therefore entitled to
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                    1 intervene as of right, and this Court should permit intervention here.

                    2 II.        In The Alternative, The Court Should Permit Permissive Intervention.

                    3            As set forth in Section I, supra., Texas easily meets the requirements for intervention as of

                    4 right. But even if it did not, this Court should exercise its “wide latitude” and permit Texas to

                    5 intervene in this action under Rule 24(b) instead. Oakland Bulk & Oversized Terminal, LLC v. City

                    6 of Oakland, 960 F.3d 603, 619 (9th Cir. 2020). Texas satisfies all three threshold requisites for

                    7 permissive intervention. Health & Human Services, 330 F.R.D. at 252, 254 (N.D. Cal. 2019)

                    8 (permitting the State of Oregon to intervene in action challenging a federal agency’s final rules).

                    9 First, Texas has an independent ground for subject matter jurisdiction, as this action raises a federal

                   10 question, and Texas would establish federal-question jurisdiction independent of Plaintiff’s ability

                   11 to do so. Id.; see also Int'l Paper Co. v. Inhabitants of Town of Jay, Me., 887 F.2d 338, 347 (1st Cir.

                   12 1989) (holding that independent jurisdiction exists when the state seeks to defend the statute against

                   13 a challenge based on federal law). Second, Texas’ motion is timely. As explained above, Texas filed

                   14 its motion within a month of Plaintiffs initiating this legal action. See supra Part I.A. Accordingly,

                   15 Texas has not delayed, much less prejudiced any of the existing parties. Third, Texas’ position in

                   16 support of the Final Rule involves common questions of law and fact. E.E.O.C. v. Nat’l Children’s

                   17 Ctr., Inc., 146 F.3d 1042, 1047 (D.C. Cir. 1998) (noting courts typically “afforded this requirement

                   18 considerable breadth”). Both “the main action” and Texas’ defense center on whether the Final Rule

                   19 is consistent with Title IX and the Administrative Procedures Act. Fed. R. Civ. P. 24(b)(1)(B). Those

                   20 common questions of law and fact are sufficient for permissive intervention. See Health & Human

                   21 Services, 330 F.R.D. at 254 (N.D. Cal. 2019).

                   22            Finally, the Court should exercise its discretion to permit intervention because Texas seeks

                   23 to defend interests that will otherwise go unprotected in the proceeding. As the Ninth Circuit has

                   24 recognized, permissive intervention is concerned with “the fairest and most efficient method of

                   25 handling a case.” Venegas v. Skaggs, 867 F.2d 527, 530 (9th Cir. 1989), aff'd sub nom. Venegas v.

                   26 Mitchell, 495 U.S. 82 (1990). In making this determination, the courts look to additional factors,
                   27 which include whether the movant’s interests are adequately represented. Id.; see also Scholl v.

                   28 Mnuchin, 483 F. Supp. 3d 822, 825 (N.D. Cal. 2020) (listing relevant factors). Texas is a common
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                    1 provider of education, whose schools, universities, and other academic programing are subject to

                    2 Title IX. But unlike the Biden Administration, Texas believes that the Final Rule will not only

                    3 facilitate enforcement of Title IX but also discourage unconstitutional practices that have violated

                    4 the rights of individuals accused of misconduct. Texas therefore can provide a broad-based defense

                    5 of the Final Rule from this perspective, enabling the Court to fully assess its validity through

                    6 adversarial proceedings, despite the new Administration’s change of position on the merits. See

                    7 Oregon Envtl. Council v. Oregon Dep't of Envtl. Quality, 775 F. Supp. 353, 359 (D. Or. 1991)

                    8 (basing its decision on “whether the intervenor would contribute to a full development of the

                    9 underlying issues in the suit”); see also Humane Soc. of U.S. v. Clark, 109 F.R.D. 518, 521 (D.D.C.

                   10 1985) (judging it appropriate “[i]n light of the ‘scope and complexity of plaintiffs’ challenge,’” to

                   11 have absent interests “directly represented”). Absent Texas’ intervention, multiple defenses to

                   12 Plaintiff’s charge that the Department violated the Administrative Procedure Act will be left

                   13 undeveloped—and that is assuming that the Biden Administration defends the Final Rule at all.

                   14            The remaining factors—i.e. the possibility of undue delay, judicial economy, and the nature

                   15 of movant’s interest—are addressed earlier in Texas’ arguments, see supra Part I.A–B, and likewise

                   16 are “clearly weighed in favor of permissive intervention.” Skaggs, 867 F.2d at 530.

                   17                                                  CONCLUSION

                   18            For the foregoing reasons, the State of Texas respectfully requests that the Court grant its

                   19 motion to intervene as a matter of right under Rule 24(a) or, in the alterative, for permissive

                   20 intervention under Rule 24(b).

                   21 DATED: April 7, 2021                              Respectfully submitted.

                   22                                                       LEWIS BRISBOIS BISGAARD & SMITH LLP
                   23                                                       /s/ Michael K. Johnson
                   24                                                       Michael K. Johnson
                                                                            Attorneys for Defendant
                   25                                                       KEN PAXTON IN HIS OFFICIAL
                                                                            CAPACITY AS ATTORNEY GENERAL
                   26                                                       OF TEXAS
                   27                                                       Patrick K. Sweeten
                   28                                                       Deputy Attorney General
LEWIS
BRISBOIS                4828-9071-6900.1                       13                  Case No. 3:21-cv-01626-EMC
BISGAARD
& SMITH LLP             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF INTERVENOR-DEFENDANT STATE OF
ATTORNEYS AT LAW                                 TEXAS’S MOTION TO INTERVENE
                        Case 3:21-cv-01626-EMC    Document 19-1     Filed 04/07/21   Page 21 of 38




                    1                                             for Special Litigation
                                                                  Ken Paxton
                    2                                             Attorney General of Texas
                                                                  Brent Webster
                    3
                                                                  First Assistant Attorney General
                    4                                             Grant Dorfman
                                                                  Deputy First Assistant Attorney General
                    5                                             William T. Thompson
                                                                  Deputy Chief, Special Litigation Unit
                    6                                             Kathleen T. Hunker
                                                                  Special Counsel
                    7
                                                                  Attorneys for Defendant
                    8                                             KEN PAXTON IN HIS OFFICIAL
                                                                  CAPACITY AS ATTORNEY GENERAL
                    9                                             OF TEXAS
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LEWIS
BRISBOIS                4828-9071-6900.1                       14                  Case No. 3:21-cv-01626-EMC
BISGAARD
& SMITH LLP             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF INTERVENOR-DEFENDANT STATE OF
ATTORNEYS AT LAW                                 TEXAS’S MOTION TO INTERVENE
                        Case 3:21-cv-01626-EMC            Document 19-1        Filed 04/07/21    Page 22 of 38




                    1                                     CERTIFICATE OF SERVICE
                                           The Women’s Student Union v. U.S. Department of Education, et al.
                    2                       USDC-ND, San Francisco Division, Case No. 3:21-cv-01626-EMC

                    3 STATE OF CALIFORNIA, COUNTY OF SACRAMENTO

                    4            At the time of service, I was over 18 years of age and not a party to the action. My business
                      address is 2020 West El Camino Avenue, Suite 700, Sacramento, CA 95833. I am employed in the
                    5 office of a member of the bar of this Court at whose direction the service was made.

                    6
                                 On April 7, 2021, I served the following document:
                    7
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF INTERVENOR-
                    8 DEFENDANT STATE OF TEXAS’S MOTION TO INTERVENE

                    9            The document was served by the following means:

                   10  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                      document with the Clerk of the Court using the CM/ECF system, which sent notification of that
                   11 filing to all persons registered by the Court to receive Notifications of Electronic Filing.

                   12          I declare under penalty of perjury under the laws of the United States of America that the
                        foregoing is true and correct.
                   13

                   14 Dated: April 7, 2021                                  /s/ Sandra Hayes
                                                                           Sandra Hayes
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LEWIS
BRISBOIS
BISGAARD                                                                                           Case No. 3:21-cv-01626-EMC
& SMITH LLP
                        4828-9071-6900.1                                  15
ATTORNEYS AT LAW                                               CERTIFICATE OF SERVICE
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      The Women’s Student Union v. U.S. Department of Education, et al.
       USDC-ND, San Francisco Division, Case No. 3:21-cv-01626-EMC




                          EXHIBIT A
                           ( [proposed] Answer )
                        Case 3:21-cv-01626-EMC            Document 19-1       Filed 04/07/21   Page 24 of 38




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                      Attorneys for Intervenor-Defendant
                   10 KEN PAXTON IN HIS OFFICIAL CAPACITY AS
                      ATTORNEY GENERAL OF TEXAS
                   11

                   12

                   13                                   UNITED STATES DISTRICT COURT

                   14                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

                   15

                   16 THE WOMEN’S STUDENT UNION,                              Case No. 3:21-cv-01626-EMC

                   17                      Plaintiff,                         ANSWER OF [PROPOSED]
                                                                              INTERVENOR-DEFENDANT STATE OF
                   18             vs.                                         TEXAS

                   19 U.S. DEPARTMENT OF EDUCATION,                           Judge: Hon. Edward M. Chen

                   20                      Defendant.

                   21            and

                   22 STATE OF TEXAS,

                   23                      [Proposed] Intervenor-
                                           Defendant.
                   24

                   25

                   26            Putative Intervenor-Defendant, the State of Texas, respectfully files this Answer to

                   27 Plaintiff’s Complaint for Injunctive and Declaratory Relief Administrative Procedure Act Case,

                   28 ECF 1 (“Complaint”).
LEWIS
BRISBOIS
BISGAARD                                                                                          Case No. 3:21-cv-1644-MMC
& SMITH LLP
                        4832-9087-9460.1                                  1
ATTORNEYS AT LAW                                               CERTIFICATE OF SERVICE
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                    1            Pursuant to Federal Rules of Civil Procedure, Texas denies each and every allegation

                    2 contained in the Complaint except for those expressly admitted herein. The headings and paragraphs

                    3 below directly correlate to the sections and numbered paragraphs of the Complaint. Those titles are

                    4 reproduced in this Answer for organizational purposes only, and Texas does not admit any matter

                    5 contained therein.

                    6            Texas responds to the specifically numbered allegations of the First Amended Complaint as

                    7 follows:

                    8                                                 INTRODUCTION

                    9            1.        Texas admits that some percentage of students experience sexual harassment,

                   10 including sexual violence, at public schools. Texas, however, lacks sufficient knowledge or

                   11 information to form a belief about the truth of the remaining allegations contained in Paragraph 1;

                   12 on that basis, it denies the allegations in their entirety.

                   13            2.        Texas admits that sexual harassment can have adverse consequences. Texas,

                   14 however, lacks sufficient knowledge or information to form a belief about the truth of the remaining

                   15 allegations contained in Paragraph 2; on that basis, it denies the allegations in their entirety.

                   16            3.        Texas denies the allegations in Paragraph 3 of the Complaint.

                   17            4.        Texas lacks sufficient knowledge or information about California’s Berkeley Unified

                   18 School District to form a belief about the truth of the allegations in Paragraph 4; on that basis, it

                   19 denies the allegations in their entirety.

                   20            5.        Texas lacks sufficient knowledge or information about Berkeley High School to form

                   21 a belief about the truth of the allegations in Paragraph 5; on that basis, it denies the allegations in

                   22 their entirety.

                   23            6.        Texas admits that Title IX of the Education Amendments of 1972 applies to schools

                   24 that receive federal funds but denies the remaining allegations in Paragraph 6 of the Complaint.

                   25            7.        Texas admits that the U.S. Department of Education enforces Title IX. The

                   26 remaining allegations in Paragraph 7 purport to characterize the Department of Education’s prior
                   27 guidance, which speaks for itself. To the extent that the remainder of this Paragraph contains any

                   28 allegations requiring a response, Texas denies them in their entirety.
LEWIS
BRISBOIS
BISGAARD                                                                                             Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1            8.        Texas admits that the Department of Education, under then-Secretary Betsy Devos,

                    2 issued regulations in 2020 that purport to effectuate Title XI. Texas denies the remaining allegations

                    3 in Paragraph 8, including Plaintiff’s characterization of the Final Rule, which speaks for itself.

                    4            9.        Paragraph 9 contains assertions of law, conclusory statements, and/or argument to

                    5 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                    6 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    7 in their entirety.

                    8            10.       Paragraph 10 contains assertions of law, conclusory statements, and/or argument to

                    9 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   10 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   11 in their entirety.

                   12            11.       Paragraph 11 contains assertions of law, conclusory statements, and/or argument to

                   13 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   14 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   15 in their entirety.

                   16            12.       Paragraph 12 contains assertions of law, conclusory statements, and/or argument to

                   17 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   18 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   19 in their entirety.

                   20            13.       Paragraph 13 contains assertions of law, conclusory statements, and/or argument to

                   21 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   22 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   23 in their entirety.

                   24            14.       Paragraph 14 purports to characterize the Final Rule, which speaks for itself. To the

                   25 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   26 entirety.
                   27            15.       Paragraph 15 contains assertions of law, conclusory statements, and/or argument to

                   28 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.
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BISGAARD                                                                                              Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    2 in their entirety. Additionally, Texas lacks sufficient knowledge or information about the Women’s

                    3 Student Union (“WSU”) and Berkeley High School to form a belief about the truth of the allegations

                    4 in the second half of Paragraph 15; on that basis, it denies the allegations in their entirety.

                    5                                                      PARTIES

                    6            16.       Texas lacks sufficient knowledge or information about WSU to form a belief about

                    7 the truth of the allegations in Paragraph 16; on that basis, it denies the allegations in their entirety.

                    8            17.       Texas admits the allegations in Paragraph 17 of the Complaint.

                    9            18.       Paragraph 18 contains assertions of law, conclusory statements, and/or argument to

                   10 which no response is required. To the extent that this Paragraph contains any allegations requiring

                   11 a response, Texas admits that the Defendant is a department of the United States. Texas also admits

                   12 that Plaintiff purports to bring claims that arise under Title IX of the Education Amendments of

                   13 1972 and the Administrative Procedure Act (APA) but denies that any violation of law has occurred.

                   14 Texas denies all other allegations in Paragraph 18, except where previously admitted.

                   15                                                       VENUE

                   16            19.       Paragraph 19 contains assertions of law, conclusory statements, and/or argument to

                   17 which no response is required. To the extent that this Paragraph contains any allegations requiring

                   18 a response, Texas lacks sufficient knowledge or information about where WSU resides to form a

                   19 belief about the truth of the allegations contained in Paragraph 19; on that basis, it denies the

                   20 allegations in their entirety.

                   21                                         INTRADISTRICT ASSIGNMENT

                   22            20.       Texas lacks sufficient knowledge or information to form a belief about the truth of

                   23 the allegations in Paragraph 20; on that basis, it denies the allegations in their entirety.

                   24                                                  ALLEGATIONS

                   25            21.       Paragraph 21 contains assertions of law, conclusory statements, and/or argument to

                   26 which no response is required. It also purports to characterize legal authority, which speaks for itself.
                   27 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   28 in their entirety.
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BRISBOIS
BISGAARD                                                                                             Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1            22.       Paragraph 22 contains assertions of law, conclusory statements, and/or argument to

                    2 which no response is required. It also purports to characterize legal authority, which speaks for itself.

                    3 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    4 in their entirety.

                    5            23.       Paragraph 23 contains assertions of law, conclusory statements, and/or argument to

                    6 which no response is required. It also purports to characterize legal authority, which speaks for itself.

                    7 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    8 in their entirety.

                    9            24.       Texas admits that Title IX is administratively enforced by federal agencies. The

                   10 remaining allegations in Paragraph 24 either contain assertions of law, conclusory statements, and/or

                   11 argument to which no response is required, or purport to characterize legal authority, which speaks

                   12 for itself. To the extent that this Paragraph contains any allegations requiring a response, Texas

                   13 denies them in their entirety, except where previously admitted. Texas also lacks sufficient

                   14 knowledge or information to form a belief about the truth of the allegations in the last sentence of

                   15 Paragraph 24; on that basis, it denies the allegations in their entirety.

                   16            25.       Texas admits that the U.S. Department of Education, through its Office for Civil

                   17 Rights, enforces Title IX. The remaining allegations in Paragraph 25 either contain assertions of

                   18 law, conclusory statements, and/or argument to which no response is required, or purport to

                   19 characterize the Department’s prior guidance, which speaks for itself. To the extent that this

                   20 Paragraph contains any allegations requiring a response, Texas denies them in their entirety, except

                   21 where previously admitted.

                   22            26.       Texas admits that the Sexual Harassment Guidance, 62 Fed. Reg. 12,034 (Mar. 13,

                   23 1997) and the Revised Sexual Harassment Guidance, 66 Fed. Reg. 5,512 (Jan. 19, 2001) underwent

                   24 notice and comment rulemaking. Texas also admits that the listed guidance documents were issued

                   25 by both Democratic and Republican administrations. The remaining allegations in Paragraph 26

                   26 purport to characterize the Department’s prior guidance, which speaks for itself. To the extent that
                   27 this Paragraph contains any allegations requiring a response, Texas denies them in their entirety,

                   28 except where previously admitted.
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BISGAARD                                                                                            Case No. 3:21-cv-1644-MMC
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                    1            27.       Paragraph 27 purports to characterize the Department’s prior guidance, which speaks

                    2 for itself. To the extent that this Paragraph contains any allegations requiring a response, Texas

                    3 denies them in their entirety.

                    4            28.       Paragraph 28 purports to characterize the Department’s prior guidance, which speaks

                    5 for itself. To the extent that this Paragraph contains any allegations requiring a response, Texas

                    6 denies them in their entirety.

                    7            29.       Paragraph 29 purports to characterize Title IX and other legal authority, which speak

                    8 for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                    9 Texas denies them in their entirety.

                   10            30.       Paragraph 30 purports to characterize legal authority, which speaks for itself. To the

                   11 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   12 entirety.

                   13            31.       Paragraph 31 purports to characterize the Department’s guidance concerning race

                   14 and disability, which speaks for itself. To the extent that this Paragraph contains any allegations

                   15 requiring a response, Texas denies them in their entirety.

                   16            32.       Texas denies the allegations in first sentence of Paragraph 32. The remaining

                   17 allegations either purport to characterize the Final Rule, which speaks for itself, or contains

                   18 assertions of law, conclusory statements, and/or argument to which no response is required. To the

                   19 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   20 entirety.

                   21            33.       Texas admits that the Final Rule was promulgated under then-Secretary Betsy DeVos

                   22 but denies the allegation that the Department failed to provide adequate justification or explanation.

                   23 The remaining allegations in Paragraph 33 purport to characterize the Final Rule, which speaks for

                   24 itself. To the extent that this Paragraph contains any allegations requiring a response, Texas denies

                   25 them in their entirety, except where previously admitted.

                   26            34.       Paragraph 34 contains assertions of law, conclusory statements, and/or argument to
                   27 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   28
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                    1 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    2 in their entirety.

                    3            35.       Texas denies the allegations in Paragraph 35 of the Complaint.

                    4            36.       Texas denies the allegations in Paragraph 36 of the Complaint.

                    5                             Limiting what constitutes sexual harassment under Title IX.

                    6            37.       Paragraph 37 contains assertions of law, conclusory statements, and/or argument to

                    7 which no response is required. It also purports to characterize the Final Rule and Title IX, which

                    8 speak for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                    9 Texas denies them in their entirety.

                   10            38.       Paragraph 38 purports to characterize the Final Rule, which speaks for itself. To the

                   11 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   12 entirety.

                   13            39.       Texas denies the allegation that the Department failed to provide adequate

                   14 justification or explanation. The remaining allegations in Paragraph 39 either purport to characterize

                   15 the Final Rule and the Department’s prior guidance, which speak for themselves, or contains

                   16 assertions of law, conclusory statements, and/or argument to which no response is required. To the

                   17 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   18 entirety.

                   19            40.       Paragraph 40 contains assertions of law, conclusory statements, and/or argument to

                   20 which no response is required. It also purports to characterize the Department’s prior guidance and

                   21 other legal authority, which speak for themselves. To the extent that this Paragraph contains any

                   22 allegations requiring a response, Texas denies them in their entirety.

                   23            41.       Paragraph 41 contains assertions of law, conclusory statements, and/or argument to

                   24 which no response is required. It also purports to characterize the Department’s prior guidance and

                   25 other legal authority, which speak for themselves. To the extent that this Paragraph contains any

                   26 allegations requiring a response, Texas denies them in their entirety.
                   27            42.       Paragraph 42 contains assertions of law, conclusory statements, and/or argument to

                   28 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.
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BISGAARD                                                                                              Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    2 in their entirety.

                    3            43.       The first sentence of Paragraph 43 contains assertions of law, conclusory statements,

                    4 and/or argument to which no response is required. It also purports to characterize the Final Rule and

                    5 Title IX, which speak for themselves. To the extent that this sentence contains any allegations

                    6 requiring a response, Texas denies them in their entirety. Texas further denies the allegation in the

                    7 second sentence of Paragraph 43.

                    8            44.       Paragraph 44 contains assertions of law, conclusory statements, and/or argument to

                    9 which no response is required. It also purports to characterize the Final Rule and Title IX, which

                   10 speak for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                   11 Texas denies them in their entirety.

                   12            45.       Texas denies the allegations in Paragraph 45 of the Complaint.

                   13                                      Limiting where Title IX’s protections apply

                   14            46.       Paragraph 46 contains assertions of law, conclusory statements, and/or argument to

                   15 which no response is required. It also purports to characterize the Final Rule and Title IX, which

                   16 speak for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                   17 Texas denies them in their entirety.

                   18            47.       Paragraph 47 contains assertions of law, conclusory statements, and/or argument to

                   19 which no response is required. It also purports to characterize the Final Rule and other legal

                   20 authority, which speak for themselves. To the extent that this Paragraph contains any allegations

                   21 requiring a response, Texas denies them in their entirety.

                   22            48.       Paragraph 48 contains assertions of law, conclusory statements, and/or argument to

                   23 which no response is required. It also purports to characterize the Final, which speaks for itself. To

                   24 the extent that this Paragraph contains any allegations requiring a response, Texas denies them in

                   25 their entirety.

                   26            49.       Texas denies the allegation that the Department failed to provide adequate
                   27 justification or explanation. The remaining allegations in Paragraph 49 either purport to characterize

                   28 the Final Rule and the Department’s prior guidance, which speak for themselves, or contains
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BRISBOIS
BISGAARD                                                                                              Case No. 3:21-cv-1644-MMC
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                    1 assertions of law, conclusory statements, and/or argument to which no response is required. To the

                    2 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                    3 entirety.

                    4            50.       Paragraph 50 contains assertions of law, conclusory statements, and/or argument to

                    5 which no response is required. It also purports to characterize the Final Rule and Title IX, which

                    6 speak for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                    7 Texas denies them in their entirety.

                    8            51.       Texas denies the allegations in the first two sentences of Paragraph 51. The

                    9 remaining allegations either purport to characterize the Final Rule, which speaks for itself, or

                   10 contains assertions of law, conclusory statements, and/or argument to which no response is required.

                   11 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   12 in their entirety.

                   13            52.       Paragraph 52 contains assertions of law, conclusory statements, and/or argument to

                   14 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   15 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   16 in their entirety.

                   17            53.       Texas denies the allegations in Paragraph 53 of the Complaint.

                   18                         Limiting when a school district is responsible for sexual harassment

                   19                                          effecting students in its programs

                   20            54.       Paragraph 54 contains assertions of law, conclusory statements, and/or argument to

                   21 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   22 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   23 in their entirety.

                   24            55.       Paragraph 55 contains assertions of law, conclusory statements, and/or argument to

                   25 which no response is required. It also purports to characterize the Final Rule and other legal

                   26 authority, which speak for themselves. To the extent that this Paragraph contains any allegations
                   27 requiring a response, Texas denies them in their entirety.

                   28
LEWIS
BRISBOIS
BISGAARD                                                                                              Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1            56.       Paragraph 56 contains assertions of law, conclusory statements, and/or argument to

                    2 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                    3 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    4 in their entirety.

                    5            57.       Texas denies the allegation that the Department failed to provide adequate

                    6 justification or explanation. The remaining allegations in Paragraph 57 purports to characterize the

                    7 Final Rule, the Department’s prior guidance, and other legal authority, which speak for themselves.

                    8 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    9 in their entirety.

                   10            58.       Texas denies the allegations in Paragraph 58 of the Complaint.

                   11                        Limiting how the Department will determine whether a school district

                   12                          has appropriately responded to sexual harassment under Title IX

                   13            59.       Paragraph 59 purports to characterize the Final Rule, which speaks for itself. To the

                   14 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   15 entirety.

                   16            60.       Paragraph 60 purports to characterize the Final Rule, which speaks for itself. To the

                   17 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                   18 entirety.

                   19            61.       Texas denies the allegation that the Department failed to provide adequate

                   20 justification or explanation. The remaining allegations in Paragraph 61 either contain assertions of

                   21 law, conclusory statements, and/or argument to which no response is required or purport to

                   22 characterize the Department’s prior guidance and other legal authority, which speak for themselves.

                   23 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   24 in their entirety.

                   25            62.       Paragraph 62 contains assertions of law, conclusory statements, and/or argument to

                   26 which no response is required. It also purports to characterize the Final Rule and other legal
                   27 authority, which speak for themselves. To the extent that this Paragraph contains any allegations

                   28 requiring a response, Texas denies them in their entirety.
LEWIS
BRISBOIS
BISGAARD                                                                                              Case No. 3:21-cv-1644-MMC
& SMITH LLP
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                    1            63.       Texas denies the allegations in Paragraph 63 of the Complaint.

                    2            64.       Paragraph 64 purports to characterize the Final Rule, which speaks for itself. To the

                    3 extent that this Paragraph contains any allegations requiring a response, Texas denies them in their

                    4 entirety.

                    5                                       Injuries Caused by the 2020 Regulations

                    6            65.       Texas denies the allegation that the Department failed to provide adequate

                    7 justification or explanation. The remaining allegations in Paragraph 65 either contain assertions of

                    8 law, conclusory statements, and/or argument to which no response is required, or purport to

                    9 characterize the Final Rule, Title IX, and the Department’s prior guidance, which speak for

                   10 themselves. To the extent that this Paragraph contains any allegations requiring a response, Texas

                   11 denies them in their entirety.

                   12            66.       Paragraph 66 contains assertions of law, conclusory statements, and/or argument to

                   13 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   14 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   15 in their entirety.

                   16            67.       Paragraph 67 contains assertions of law, conclusory statements, and/or argument to

                   17 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   18 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   19 in their entirety.

                   20            68.       Texas denies the allegations in Paragraph 68 of the Complaint.

                   21            69.       Paragraph 69 purports to characterize the Department’s statements regarding the

                   22 Final Rule, which speak for themselves. To the extent that this Paragraph contains any allegations

                   23 requiring a response, Texas denies them in their entirety. Texas also denies Plaintiff’s

                   24 characterization of the Department’s statements.

                   25            70.       Texas denies the allegations in Paragraph 70 of the Complaint.

                   26            71.       Paragraph 71 purports to characterize the Final Rule’s preamble, which speaks for
                   27 itself. To the extent that this Paragraph contains any allegations requiring a response, Texas denies

                   28 them in their entirety.
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                    1            72.       Texas denies the allegations in Paragraph 72 of the Complaint.

                    2            73.       Paragraph 73 contains assertions of law, conclusory statements, and/or argument to

                    3 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                    4 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    5 in their entirety.

                    6            74.       Texas denies the allegations in Paragraph 74 of the Complaint.

                    7                      Additional Injuries Caused by the 2020 Regulations Specifically to WSU

                    8            75.       Paragraph 75 purports to characterize the Final Rule, which speaks for itself. To the

                    9 extent that this Paragraph contains any allegations requiring a response, Texas lacks sufficient

                   10 knowledge or information about WSU to form a belief about the truth of the allegations in Paragraph

                   11 75; on that basis, it denies the allegations in their entirety.

                   12            76.       Paragraph 76 contains assertions of law, conclusory statements, and/or argument to

                   13 which no response is required. It also purports to characterize multiple regulations, which speak for

                   14 themselves. To the extent that this Paragraph contains any allegations requiring a response, Texas

                   15 denies them in their entirety.

                   16            77.       Texas lacks sufficient knowledge or information to form a belief about the truth of

                   17 the allegations in Paragraph 77; on that basis, it denies the allegations in their entirety.

                   18            78.       Paragraph 78 contains assertions of law, conclusory statements, and/or argument to

                   19 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   20 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   21 in their entirety.

                   22            79.       Paragraph 79 contains assertions of law, conclusory statements, and/or argument to

                   23 which no response is required. To the extent that this Paragraph contains any allegations requiring

                   24 a response, Texas denies them in their entirety.

                   25            80.       Texas lacks sufficient knowledge or information to form a belief about the truth of

                   26 the allegations in Paragraph 80; on that basis, it denies the allegations in their entirety.
                   27

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                    1            81.       Paragraph 81 contains assertions of law, conclusory statements, and/or argument to

                    2 which no response is required. To the extent that this Paragraph contains any allegations requiring

                    3 a response, Texas denies them in their entirety.

                    4            82.       The first sentence in Paragraph 82 contains assertions of law, conclusory statements,

                    5 and/or argument to which no response is required. It also purports to characterize the Final Rule,

                    6 which speaks for itself. To the extent that the sentence contains any allegations requiring a response,

                    7 Texas denies them in their entirety. Texas also denies the second sentence in Paragraph 82.

                    8                                                        CLAIM

                    9                       Violations of Administrative Procedure Act, 5 U.S.C. § 706(2)(A) & (C)

                   10            83.       Texas repeats and reaffirms its answers to each and every allegation contained in the

                   11 paragraphs above and incorporates the same herein as though fully set forth.

                   12            84.       Paragraph 84 contains assertions of law, conclusory statements, and/or argument to

                   13 which no response is required. It also purports to characterize the Final Rule and Title IX, which

                   14 speak for themselves. To the extent that this Paragraph contains any allegations requiring a response,

                   15 Texas denies them in their entirety.

                   16            85.       Paragraph 85 contains assertions of law, conclusory statements, and/or argument to

                   17 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   18 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   19 in their entirety.

                   20            86.       Paragraph 86 contains assertions of law, conclusory statements, and/or argument to

                   21 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   22 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                   23 in their entirety.

                   24            87.       Paragraph 87 contains assertions of law, conclusory statements, and/or argument to

                   25 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                   26 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them
                   27 in their entirety.

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                    1            88.       Paragraph 88 contains assertions of law, conclusory statements, and/or argument to

                    2 which no response is required. It also purports to characterize the Final Rule and other legal

                    3 authority, which speak for themselves. To the extent that this Paragraph contains any allegations

                    4 requiring a response, Texas denies them in their entirety.

                    5            89.       Paragraph 88 contains assertions of law, conclusory statements, and/or argument to

                    6 which no response is required. It also purports to characterize the Final Rule, which speaks for itself.

                    7 To the extent that this Paragraph contains any allegations requiring a response, Texas denies them

                    8 in their entirety.

                    9                                                PRAYER FOR RELIEF

                   10            Paragraphs (A)–(D) of this section contain Plaintiff’s recitation of the relief sought in this

                   11 action, assertions of law, conclusory statements, and/or argument to which no response is required.

                   12 To the extent that Paragraphs (A)–(D) contain any allegations requiring a response, Texas denies

                   13 those allegations in their entirety. Texas further denies that Plaintiff is entitled to any relief from this

                   14 Court.

                   15                                   DEFENSES AND AFFIRMATIVE DEFENSES

                   16            1.        Plaintiff has failed to state a claim upon which relief can be granted.

                   17            2.        Some or all of the relief Plaintiff seeks would violate the First, Fifth, or Fourteenth

                   18 Amendments of the United States Constitution.

                   19            3.        Texas reserves the right to amend these defenses or raise additional defenses as they

                   20 become known to Texas during the development of this case.

                   21                                              DEFENDANT’S PRAYER

                   22            For the foregoing reasons, Texas asks the Court to enter judgment that Plaintiff takes

                   23 nothing, dismiss Plaintiff’s suit with prejudice, assess costs against Plaintiff, and award Defendant

                   24 all other relief the Court deems appropriate.

                   25            ///

                   26            ///
                   27            ///

                   28            ///
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                    2 DATED:___________                          Respectfully submitted.

                    3                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                    4

                    5                                            Michael K. Johnson
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                    6                                            KEN PAXTON IN HIS OFFICIAL
                                                                 CAPACITY AS ATTORNEY GENERAL
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                    9                                            Patrick K. Sweeten
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                   15                                            Kathleen T. Hunker
                                                                 Special Counsel
                   16
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                   17                                            KEN PAXTON IN HIS OFFICIAL
                                                                 CAPACITY AS ATTORNEY GENERAL
                   18                                            OF TEXAS
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